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DeMarco•Mitchell, PLLC
1255 West 15th Street
Suite 805
Plano, TX 75075
Telephone: 972-578-1400
Facsimile: 972-346-6791

                                IN THE UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF TEXAS
                                           SHERMAN DIVISION

 IN RE:
                                                                          Case No.:         19-41209-R
 James Jude McCullough, Jr.
 XXX-XX-8351
 425 Crested Ridge Lane
 Aledo, TX 76108

                                                                          Chapter:          13
 DEBTOR

                             FIRST APPLICATION OF DEMARCO∙MITCHELL, PLLC,
                                COUNSEL FOR THE DEBTOR, FOR ALLOWANCE
                          OF COMPENSATION AND REIMBURSEMENT OF EXPENSES


                                    21-DAY NEGATIVE NOTICE – LBR 9007(a):

          Your rights may be affected by the relief sought in this pleading. You should read
          this pleading carefully and discuss it with your attorney, if you have one, in this
          bankruptcy case. If you oppose the relief sought by this pleading, you must file a
          written objection, explaining the factual and/or legal basis for opposing the relief.

          No hearing will be conducted on this Application unless a written objection is filed
          with the clerk of the United States Bankruptcy Court and served upon the party filing
          this pleading WITHIN TWENTY-ONE (21) DAYS FROM THE DATE OF SERVICE shown in
          the certificate of service unless the Court shortens or extends the time for filing such
          objection. If no objection is timely served and filed, this pleading shall be deemed to
          be unopposed, and the Court may enter an order granting the relief sought. If an
          objection is filed and served in a timely manner, the Court will thereafter set a
          hearing with appropriate notice. If you fail to appear at the hearing, your objection
          may be stricken. The Court reserves the right to set a hearing on any matter.


TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:




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              Comes Now DeMarco∙Mitchell, PLLC (hereinafter “DM”) and files this its First

Application of DeMarco∙Mitchell, PLLC, Counsel for the Debtor, For Allowance of Compensation

and Reimbursement of Expenses (hereinafter “the Application”) seeking approval and allowance

of compensation and attorney’s fees and reimbursement of expenses incurred herein. This

Application is filed in accordance with the provisions of 11 U.S.C. §330, Federal Rule of

Bankruptcy Procedure 2016, and Local Rule of Bankruptcy Procedure 2016-1. In support of the

Application, DM would respectfully show as follows:

                                                         I. JURISDICTION

              1.        The Court has jurisdiction over the subject matter of this Motion pursuant to 28

U.S.C. §1334(b) and the standing order of reference of the District Court. This matter is a core

proceeding per the provisions of 28 U.S.C. § 157(b).

              2.        Venue in this Court is proper under 28 U.S.C. §§ 1408 and 1409.

                                                         II. BACKGROUND

              3.        This case was commenced by the filing of a voluntary petition under Chapter

13 of the United States Bankruptcy Code on May 6, 2019 (the “Petition Date”) in the United

States Bankruptcy Court for the Eastern District of Texas, Sherman Division by DM on behalf of

James Jude McCullough, Jr. (hereinafter “the Debtor”).

              4.        Carey D. Ebert was duly appointed to serve as the Standing Chapter 13

Trustee for the Debtor’s bankruptcy estate and is continuing to serve in that capacity.

              5.        DM was retained by the Debtor and has acted as counsel for the Debtor in

 connection with the commencement and subsequent prosecution of the Chapter 13

proceedings.




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                                                        III. RELIEF REQUESTED

              6.        By this Application, and pursuant to section 330 of the Bankruptcy Code,

Federal Rule of Bankruptcy Procedure 2016, and Local Rule of Bankruptcy Procedure 2016, DM

is seeking approval of total compensation in the amount of $1,900.00. Said total includes the

sum of $1,790.80 for reasonable fees for professional services rendered to the Debtor by DM

during the period from May 2, 2019 to the date of the filing of this Application and the sum of

$109.20 as reimbursement for reasonable out-of-pocket expenses necessarily incurred by DM.

Exhibit A attached hereto and incorporated herein summarizes and describes the work

performed by DM on behalf of the Debtor as well as the out-of-pocket expenses incurred

during the representation to date.

                                                         IV. HOURLY RATES

              7.        The following professionals and paraprofessionals have rendered service to the

Debtor at the hourly rates set out below.


  ATTORNEY                                                                                           RATE / HOUR
  Michael S. Mitchell (MM)                                                                           $325.00


  PARALEGAL
  Barbara Drake (BD)                                                                                 $125.00


                        V. RETENTION AND COMPENSATION OF DEMARCO∙MITCHELL, PLLC

              8.        DM was retained by the Debtor on May 2, 2019. This application

 covers the period from May 2, 2019 to the date of the filing of the application.

              9.        Michael S. Mitchell served as primary bankruptcy counsel for the Debtor herein.




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 Mr. Mitchell has been licensed to practice law in the state of Texas since 1993. He is licensed

to practice before the United States District and Bankruptcy Courts for both the Northern and

Eastern Districts of Texas. He is Board Certified in Consumer Bankruptcy Law by the Texas

Board of Legal Specialization. His practice has been devoted exclusively to bankruptcy

representation since January, 1996.

              10.       Robert T. DeMarco has been licensed to practice law since 1988. He is currently

licensed to practice by both the State of Texas and the State of California. Mr. DeMarco is also

licensed to practice before the United States District and Bankruptcy Courts for the Northern

and Eastern District of Texas. He is Board Certified in Consumer Bankruptcy Law by the Texas

Board of Legal Specialization. His practice has been devoted exclusively to bankruptcy

representation since 1988.

              11.       Barbara Drake has in excess of 15 years of experience serving as a legal assistant

and dealing almost exclusively with bankruptcy matters.

              12.       Immediately post-petition, DM filed its Disclosure of Compensation in

accordance with the provisions of Bankruptcy Rule 2016 setting forth the compensation

previously paid to DM and the compensation agreement between DM and the Debtor in

connection with this Chapter 13 proceeding.

              13.       As indicated in said Disclosure Statement, the Debtor herein paid DM a total of

$1,000.00 plus the bankruptcy court filing fee of $310.00 upon the commencement of the

firm’s representation herein. DM has not received any compensation from the Debtor during

the post-petition period.




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              14.       DM has no agreement of any kind, express or implied, to divide with any other

person or entity any portion of the compensation sought or to be received by it in this case.

              15.       DM is seeking compensation pursuant to 11 U.S.C. § 330. No prior application

for compensation or reimbursement has been filed by DM.

              16.       Since its retention as counsel for the Debtor, DM has performed numerous and

extensive legal services for the Debtor. All professional services for which the allowance of

compensation is requested were performed by DM for and on behalf of the Debtor and not on

behalf of any committee, creditor or other person.

              17.       During the period covered by this application, DM expended a total of 7.45

 hours for professional services rendered on behalf of the Debtor. As noted above, a detailed

summary of the time expended is attached hereto as Exhibit A. The time was spent by the

attorneys and/or legal assistants as follows:

                               Michael S. Mitchell, Attorney                    4.93 Hours

                               Barbara Drake, Paralegal                         2.52 Hours

              18.       Based upon the hourly rates set out above, the value of professional services

rendered during the case exceeds the $1,900.00 total fee requested herein.

                                                        VI. LEGAL STANDARD

              19.       A professional employed by a debtor in possession may be awarded reasonable

compensation for actual and necessary services performed by the professional and accorded

first prior distribution under 11 U.S.C. § 507. 11 U.S.C. §330(a). In support of this request for

allowance of compensation and reimbursement of expenses, DM respectfully directs this

Court's attention to those factors generally considered by Bankruptcy Courts in awarding




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compensation to professionals for services performed in connection with the administration of

a debtor's estate. Within the Fifth Circuit, that process is commonly referred to as the “lodestar

method.” In re Fender, 12 F.3d 480. 487 (5th Cir. 1994).

              20.       As explained by the Fifth Circuit: The calculation of attorney's fees involves a

well-established process. First, the court calculates a “lodestar” fee by multiplying the

reasonable number of hours expended on the case by the reasonable hourly rates for the

participating lawyers. Louisiana Power & Light Co. v. Kellstrom, 50 F.3d 319, 324 (5th Cir.1995).

The court then considers whether the lodestar figure should be adjusted upward or downward

depending on the circumstances of the case. Id. In making a lodestar adjustment the court

should look to twelve factors, known as the Johnson factors, after Johnson v. Georgia Highway

Express, Inc., 488 F.2d 714 (5th Cir.1974). Migis v. Pearle Visions, Inc., 135 F.3d 1041, 1047 (5th

Cir. 1998) (citations omitted).

              21.       The twelve Johnson factors are: (1) time and labor required, (2) novelty and

difficulty of the issues, (3) skill required to perform the legal services properly, (4) preclusion of

other employment, (5) customary fee, (6) whether the fee is fixed or contingent, (7) time

limitations imposed by client or circumstances, (8) amount involved and results obtained, (9)

experience, reputation and ability of the attorneys, (10) undesirability of the case, (11) nature

and length of the professional relationship with the client, and (12) award in similar cases. Id.

              22.       In accord with the mandate of Bankruptcy Rule 2016(a), a description of the

application of the Johnson factors is set forth below.

              23.       Time and Labor. As noted above, DM spent a total of 7.45 hours representing




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the Debtor in this case. Employing the hourly rates reflected in paragraph 16 above, the

average hourly attorney rate charged by the firm during the case was $325.00 per hour. All

travel time is billed at ½ of the normal hourly rate of the professional traveling in connection

with the representation.

              24.       Novelty and Difficulty. While many of the tasks performed by DM during the

course of the representation were routine, the Debtor’s case did involve factual scenarios and

legal questions of moderate difficulty.

              25.       Requisite Skill. DM believes that a practitioner unfamiliar with bankruptcy law

would have been required to spend considerably more hours than DM’s attorneys and

professional staff to perform the same tasks. The undersigned counsel has in excess of twenty

(20) years of experience as a bankruptcy practitioner in this district.

              26.       Preclusion From Other Employment. DM has not necessarily had to decline

representation of new clients as a result of this case. However, DM has had to devote fewer

hours than desirable to other existing clients and has been required to delay working on

matters that were of importance to other clients in order to address the pressing matters

relating to this case.

              27.       Customary Fee. DM has applied for allowance of fees that reflect its customary

billing rates charged to clients of DM. DM believes that these rates are commensurate with the

rates charged and approved in other bankruptcy proceedings pending in the Dallas/Fort Worth

Metroplex in general and in the Eastern District of Texas specifically.

              28.       Fixed or Contingent. Contingencies concerning fees were: (1) achievement of a




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successful result; (2) Court approval of the fees requested; and (3) the possibility of non-

payment of the approved fees. As in all bankruptcy proceedings, the fees of DM are subject to

the discretion of the Court in determining the value of services provided to the Estate and are

also subject to the availability of funds in the Estate and are in that sense contingent.

              29.       Time Limitations. The time requirements of this case have been extensive at

times. In many instances, this case required immediate responses that imposed time

limitations on the attorney and staff involved. DM believes that it has successfully handled the

time limitations in this case and has enabled this case to progress in the most efficient manner

possible.

              30.       Amount Involved and Results Obtained. When the Debtor retained DM, he was

faced with the prospect of the loss of his residence homestead via foreclosure action. DM filed

the subject bankruptcy case for the Debtor and took the necessary steps to allow him to

propose a plan of reorganization that would give him the opportunity to retain his homestead

and reorganize his debts.

              31.       Experience. DM limits its practice area to bankruptcy law and to matters

involving the restructuring and settlement of debt. DM represents both creditors and lenders

in maters before this Court and throughout the State. DM’s attorneys have ample experience

representing Debtors under chapters 7, 11, and 13 of the Bankruptcy Code so as to merit an

award of the compensation requested herein.

              32.       Undesirability. As a whole, the representation of the Debtor incident to this

case has not been unduly undesirable, although DM suspects that few other local firms familiar

with representation of Debtors in Chapter 13 proceedings would have accepted employment




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herein. The lack of funds to pay professional fees on a regular basis has presented a challenge

for DM.

              33.       Nature and Length of Professional Relationship with Client. DM did not have

any relationship with the Debtor prior to its retention by the Debtor on May 2, 2019.

              34.       Award in Similar Cases. DM believes the fees incurred in representing the

 Debtor are consistent with fees incurred in other cases of a similar size and complexity within

this district.

                                                        VII. PRAYER FOR RELIEF

              35.       By this application, Applicant firm requests the Court to authorize compensation

to the firm in the total amount of $1,900.00 with $1,000.00 to be withdrawn from the Applicant

Firm’s trust account and a sum not to exceed $900.00 to be disbursed to Applicant Firm by the

Standing Chapter 13 Trustee. The actual total of fees incurred were $1,978.36, including out-

of-pocket expenses totaling $109.20. Applicant firm further prays for such other and further

relief, in law or equity, to which it may show itself justly entitled.

              WHEREFORE, PREMISES CONSIDERED, Applicant firm prays that the Court authorize

payment of the sums set out in the paragraph above.

              DATED this 12th day of August, 2019.




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                                                                       Respectfully submitted,


                                                                       /s/ Michael S. Mitchell
                                                                       ________________________________
                                                                       Michael S. Mitchell
                                                                       DeMarco∙Mitchell, PLLC
                                                                       Texas State Bar #00788065
                                                                       1255 West 15th Street, Suite 805
                                                                       Plano, TX 75075
                                                                       Telephone: 972-578-1400
                                                                       Facsimile: 972-346-6791
                                                                       E-mail: mike@demarcomitchell.com




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                                                 CERTIFICATE OF SERVICE

              The undersigned hereby certifies that true and correct copies of the foregoing
Application, including all exhibits thereto, were served upon all parties listed below, and upon
all parties listed upon the attached mailing matrix, on this 12th day of August, 2019.

                                                                 DEBTOR
James Jude McCullough, Jr.
425 Crested Rridge Lane
Aledo, TX, TX 76108

                                                                TRUSTEES
Carey D. Ebert                                                          Office of the United States Trustee
Standing Chapter 13 Trustee                                             110 N. College Avenue
P. O. Box 941166                                                        Suite 300
Plano, TX 75094-1166                                                    Tyler, TX 75702
ECFch13plano@ch13plano.com                                              ustpregion06.ty.ecf@usdoj.gov

              ADDITIONAL PARTIES IN INTEREST AND/OR PARTIES REQUESTING NOTICE
Attorney General of Texas                         JPMorgan Chase Bank, N.A.
Child Support Division                            C/O Jeffrey Fleming
C/O Stratos Apostolou                             Barrett Daffin Frappier Turner & Engel
2512 South I.H. 35, Suite 200                     15000 Surveyor Blvd.
Austin, TX 78704                                  Addison, TX 75001
stratos.apostolou@texasattorneygeneral.gov        edecf@BDFGROUP.com

JPMorgan Chase Bank, N.A.                                                    PRA Receivables Management, LLC
C/O Rachael Swernofsky                                                       PO Box 41021
Barrett Daffin Frappier Turner &                                             Norfolk, VA 23541
Engel, LLP                                                                   claims@recoverycorp.com
4004 Beltline Rd., Ste. 100
Addison, TX 75001
edecf@bdfgroup.com

Parker CAD                                                                   Amy Lynn McCullough
C/O Melissa L. Palo                                                          429 Spyglass Drive
Linebarger Goggan Blair & Sampson LLP                                        Willow Park, TX 76008
2777 N. Stemmons Freeway, Suite 1000
Dallas, TX 75207
melissa.palo@lgbs.com




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                                                                       /s/ Michael S. Mitchell
                                                                       Michael S. Mitchell,
                                                                       DeMarco∙Mitchell, PLLC
                                                                       Texas State Bar No.: 00788065
                                                                       1255 West 15th Street, Suite 805
                                                                       Plano, Texas 75075
                                                                       Telephone: (972) 578-1400
                                                                       Facsimile: (972) 346-6791
                                                                       E-mail: mike@demarco-mitchell.com




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Eastern District of Texas
Sherman
Mon Aug 12 15:24:11 CDT 2019
Acima Credit                                            Ad Astra Recovery                                     Afni
9815 Monroe Street, 4th Floor                           7330 W. 33rd Street N.                                PO Box 3097
Sandy, UT 84070-4384                                    Ste. 118                                              Bloomington, IL 61702-3097
                                                        Witchita, KS 67205-9370


Ally Financial                                          American Profit Recovery                              American Express
PO Box 130424                                           34505 W. 12 Mile Rd. #333                             PO Box 297871
Roseville MN 55113-0004                                 Farmington Hills, MI 48331-3288                       Ft. Lauderdale, FL 33329-7871



American Express Travel Related Services                Amy Lynn McCullough                                   Amy McCullough
C/O Becket and Lee, LLP                                 429 Spyglass Drive                                    429 Spyglass Drive
PO Box 3001                                             Willow Park, TX 76008-3153                            Willow Park, TX 76008-3153
Malvern, PA 19355-0701


Anthony L. Vitullo                                      Stratos Apostolou                                     Ashley Funding Services, LLC
Fee, Smith, Sharp & Vitullo, LLP                        Attorney General of Texas                             C/O Resurgent Capital Services
Three Galleria Tower                                    Child Support Division                                PO Box 10587
13155 Noel Road, Suite 1000                             2512 South I.H. 35, Suite 200                         Greenville, SC 29603-0587
Dallas, TX 75240-5019                                   Austin, TX 78704-5751

Ashley Funding Services, LLC                            Attorney General of Texas                             Attorney General of Texas
Resurgent Capital Services                              Bankruptcy Reporting Cont.                            Bankruptcy Reporting Contact
PO Box 10587                                            OAG/CSD/Mail Code 38                                  OAG/CSD/Mail Code 38
Greenville, SC 29603-0587                               PO Box 12017                                          P.O. Box 12017
                                                        Austin, TX 78711-2017                                 Austin, TX 78711-2017

Attorney General of Texas                               Attorney General of Texas                             Attorney General of Texas-Child Support Divi
Child Support Division                                  Taxation Division - Bankruptcy                        Attorney General of Texas-Child Support
2512 S. IH-35 STE 200                                   Box 12548 Capitol Station                             2512 S. IH-35 STE 200
AUSTIN TX 78704-5751                                    Austin, TX 78711-2548                                 AUSTIN, TX 78704-5751


Bank of America, N.A.                                   Barrett Daffin Frappier Turner & Engel                Betty Rajan MD, PLLC
PO Box 982284                                           4004 Belt Line Road                                   6600 Bryant Irvin Road
El Paso, TX 79998-2284                                  Suite 100                                             Fort Worth, TX 76132-4217
                                                        Addison, TX 75001-4320


Canamex International                                   Captal One                                            Career Education Corporation
915 Clivden Ave.                                        15000 Capital One Drive                               231 N. Martingale Rd.
Delta, BC V3M 5R6                                       Richmond, VA 23238-1119                               Schaumburg, IL 60173-2007
Canada


Cash Central                                            Chase Home Finance                                    Chase Records Center
6785 Bobcat Way # 200                                   3415 Vision Drive                                     Attn: Correspondence Mail
Dublin, OH 43016-1443                                   Columbus, OH 43219-6009                               Mail Code LA4-5555
                                                                                                              700 Kansas Lane
                                                                                                              Monroe, LA 71203-4774
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                                                                                                                  Bridge Canyon HOA
c/o Paul S. Kirklin                                  623 Elm Street                                       108 Covered Bridge Drive
12600 N. Featherwood Drive                           Graham, TX 76450-3088                                Fort Worth, TX 76108-9602
Suite 225
Houston, TX 77034-4441

Covered Bridge Canyon HOA                            Credit Collections Services                          Credit Control, LLC
C/O Sharon E. Hicks, Attorney                        725 Canton St.                                       PO Box 100
102 Houston Ave., Suite 300                          Norwood, MA 02062-2679                               Hazelwood, MO 63042-0100
Weatherford, TX 76086-4369


Credit Systems International                         DeMarco Mitchell, PLLC                               Dish Network
1277 Country Club Lane                               1255 West 15th St., 805                              PO Box 94063
Fort Worth, TX 76112-2304                            Plano, TX 75075-7225                                 Palatine, IL 60094-4063



Carey D. Ebert                                       First Financial Bank                                 Jeffrey Fleming
P. O. Box 941166                                     400 Pine Street                                      Barrett Daffin Frappier Turner & Engel
Plano, TX 75094-1166                                 Abilene, TX 79601-5104                               15000 Surveyor Blvd.
                                                                                                          Addison, TX 75001-4417


Frost Bank                                           Frost Bank                                           Frost Bank
Attn: Bankruptcy Dept. T-9                           Attn: Bankruptcy Dept. T7                            PO Box 1600
PO Box 1600                                          P O Box 1600                                         San Antonio, TX 78296-1600
San Antonio, TX 78296-1600                           San Antonio, Texas 78296-1600


GE Capital Retail Bank                               Global Trust Management LLC                          Grasseasters Inc
PO Box 960061                                        PO Box 26244                                         7511 Katy Lane
Orlando, FL 32896-0061                               Tampa, FL 33623-6244                                 Benbrook, TX 76126-2103



HRRG                                                 I-20 Animal Hospital                                 Internal Revenue Service
PO Box 5406                                          3713 Fort Worth Hwy.                                 Centralized Insolvency Operations
Cincinnati, OH 45273-0001                            Weatherford, TX 76087-8786                           PO Box 7346
                                                                                                          Philadelphia, PA 19101-7346


JPMorgan Chase Bank, National Association            JPMorgan Chase Bank, National Association            James Bell
c/o BDFTE, LLP                                       c/o Chase Records Center                             James S. Bell, PC
4004 Belt Line Rd Suite 100                          Attn: Correspondence Mail                            2808 Cole Avenue
Addison, TX 75001-4320                               Mail Code LA4-5555                                   Suite 1000
                                                     700 Kansas Lane                                      Dallas, TX 75204-1030
                                                     Monroe, LA 71203-4774
John L. Malesovas                                    Kaminario, Inc.                                      Kaminario, Inc.
Malesovas Law Firm                                   75 Second Avenue, Suite 620                          C/O Registered Agent Solutions, Inc.
1801 S. MoPac Expressway                             Needham, MA 02494-2865                               1701 Directors Blvd., Suite 300
Suite 320                                                                                                 Austin, TX 78744-1044
Austin, TX 78746

LVNV Funding LLC                                     LVNV Funding, LLC                                    LVNV Funding, LLC
PO Box 10497                                         C/O Resurgent Capital Services                       Resurgent Capital Services
Greenville, SC 29603-0497                            PO Box 10587                                         PO Box 10587
                                                     Greenville, SC 29603-0587                            Greenville, SC 29603-0587
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13155 Noel Rd. #1000                                    425 Crested Rridge Lane                               C/O Resurgent Capital Services
Dallas, TX 75240-5019                                   Aledo, TX, TX 76108-9618                              PO Box 1927
                                                                                                              Greenville, SC 29602-1927


Medical City Weatherford                                Midwest Servicing Group                               Michael S. Mitchell
Resurgent Capital Services                              901 Washington Ave. #1                                DeMarco-Mitchell, PLLC
PO Box 1927                                             Detroit LAkes, MN 56501-3401                          1255 West 15th Street
Greenville, SC 29602-1927                                                                                     805
                                                                                                              Plano, TX 75075-7225

PRA Receivables Management, LLC                         Melissa L. Palo                                       Parker CAD
PO Box 41021                                            Linebarger Goggan Blair & Sampson LLP                 LInebarger Goggan Blair & Sampson, LLP
Norfolk, VA 23541-1021                                  2777 N. Stemmons Freeway, Suite 1000                  c/o Melissa L. Palo
                                                        Dallas, TX 75207-2328                                 2777 N. Stemmons Freeway
                                                                                                              Suite 1000
                                                                                                              Dallas, TX 75207-2328
Parker CAD                                              Portfolio Recovery Ass., LLC                          Professional Account Services
C/O Linebarger, Goggan, Blair & Sampson                 PO Box 41021                                          PO BOx 188
2777 N. Stemmons Freeway                                Norfolk, VA 23541-1021                                Brentwood, TN 37024-0188
Suite 1000
Dallas, TX 75207-2328

Progressive Insurance                                   Quail Ridge Ranch LLC                                 Radiology Associates of N. Texas
6300 Wilson MIlls Road                                  c/o Paul S. Kirklin                                   816 W. Cannon St.
Mayfield Village, OH 44143-2182                         12600 N. Featherwood Dr.                              Fort Worth, TX 76104-3194
                                                        Suite 225
                                                        Houston, TX 77034-4441

ResortCom/Villa Del Palmar                              Scott & Associates                                    Speedy/Rapid Cash
6850 Bermuda Rd.                                        PO Box 115220                                         PO Box 780408
Las Vegas, TX 89119-3615                                Carrollton, TX 75011-5220                             Wichita, KS 67278-0408



SpeedyCash.com                                          Steml                                                 Rachael Swernofsky
4209 E. Lancaster Ave.                                  6500 Wells Burnett Road                               Barrett Daffin Frappier Turner &
Ft. Worth, TX 76103-3222                                Fort Worth, TX 76135-9367                             Engel, LLP
                                                                                                              4004 Beltline Rd., Ste. 100
                                                                                                              Addison, TX 75001-4320

Syncb/Care Credit                                       Synergetic Communications, INc.                       Texas Comptroller of Public Accounts
PO Box 965036                                           5450 N.W. Central #220                                Office of the Attorney General
Orlando, FL 32896-5036                                  Houston, TX 77092-2061                                Bankruptcy Collections Div.
                                                                                                              P.O. Box 12548, MC-008
                                                                                                              Austin, TX 78711-2548

Texas Health Physician Group                            Texas Workforce Commission                            (p)TRI CITIES URGENT CARE
PO Box 732362                                           TEC Building Tax Dept.                                123 SOUTH RANCH HOUSE RD
Dallas, TX 75373-2362                                   101 E. 15th Street                                    WILLOW PARK TX 76008-2649
                                                        Austin, TX 78778-0001


U.S. Attorney General                                   US Trustee                                            USAA Federal Savings Bank
Department of Justice                                   Office of the U.S. Trustee                            10750 McDermott Freeway
Main Justice Building                                   110 N. College Ave.                                   San Antoinio, TX 78288-1600
10th & Constitution Ave., NW                            Suite 300
Washington, DC 20530-0001                               Tyler, TX 75702-7231
                        Case 19-41209 Doc 35     Filed 08/12/19 Entered 08/12/19 15:29:22   Desc Main Document
USMD Health Systems Medical Clinic of NT             United Revenue Corp.                                 United Page
                                                                                                                 States16Attorney
                                                                                                                          of 16

PO Box 650873                                        204 Billings St. Ste 120                             110 North College Ave., Ste. 700
Dallas, TX 75265-0873                                Arlington, TX 76010-2495                             Tyler, TX 75702-0204



Weatherford Emergency Physicians                     Weatherford Regional Medical Center
ACS Primary Care Physicians                          c/o PASI
PO Box 740021                                        PO Box 188
Cincinnati, OH 45274-0021                            Brentwood, TN 37024-0188




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Tri Cities Urgent Care
PO Box 8359
Fort Worth, TX 76124




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Ally Financial                                    (d)Carey D. Ebert                                    (d)Internal Revenue Service -
PO Box 130424                                        P. O. Box 941166                                     Centralized Insolvency Operations
Roseville, MN 55113-0004                             Plano, TX 75094-1166                                 PO Box 7346
                                                                                                          Philadelphia, PA 19101-7346


(d)PRA Receivables Management, LLC                   (d)Parker CAD                                        End of Label Matrix
PO Box 41021                                         LInebarger Goggan Blair & Sampson, LLP               Mailable recipients   94
Norfolk, VA 23541-1021                               c/o Melissa L. Palo                                  Bypassed recipients    5
                                                     2777 N. Stemmons Freeway                             Total                 99
                                                     Suite 1000
                                                     Dallas, TX 75207-2328
